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Case 2:13-Cv-00187-RGK-.]CG Docu'ment 1 Filed 01/10/13 Page 1 of 11 Page |D #:'

©©Um

G. Thomas Martin, III, Esq. (SBN 218456) §
PRICE LAW GROUP, APC `
15760 Ventura Blvd., Suite 1100
Encino, CA 9!436

T: (818) 907-2030; F: (818) 205»2730
tom@pricelawgroup.com

Attomeys for Plaintiff
MYRNA E. BAUM

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UNITED STATES DISTRICT COURT
CENTRAL DIS'I`RICT OF CALIFORNIA

 

21 n
MYRNA E. BAUM, an individual, a §§ §M= § l '
Plaintiff, COMPLAINT AND DEMANI) FOR
JURY TRIAL

vS.
(Unlawful Debt Collection Practices)

PROFESSIONAL RECOVERY SERVICES, Demand Does Not Bxceed 310,000
INC., a corporation; and DOES 1 to 10,

 

 

inclusive,
Defendants.
COMPLAINT
INTROI)UCTION
1. Myrna E. Baurn (Piaintifi'), an individual consumer, brings this action to Secure

redress from uniawful credit collections practices engaged in by Professional Recovery Services,
Inc. (Defendant) for violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692
(FDCPA) and violations of the Telephone Consumer Protection Act, 47 U.S.C, § 227 (TCPA).
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COMPLAI'NT FOR DAMAGES

 

 

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Case 2:13-cv-00187-RGK-.]CG Document 1 Filed 01/10/13 Page 2 of 11 Page |D #:8

JURISDICTION
2. Jurisdiction ofthis court arises under 15 U.S.C. § 1692l<(d) which states that such
actions may be brought and heard before “any appropriate United States district court without
regard to the amount in controversy.” Declaratory relief is available pursuant to 28 U.S.C. §§
2201 and 2202.
3. Del"endant conducts business in the State of California and therefore, personal

jurisdiction is established

4. Venae in this District is proper pursuant to 28 U.S.C. § l391(b)(2) in that the
Defendant transacts business here.
PAR'I`IES
5. Myma E. Baum (Plaintiff) is an individual, residing in Sirni Valley, Ventnra

County, California 93065. Plaintiff is a natural person obligated or allegedly obligated to pay any
debt and is thus “consurner” as defined by the FDCPA, 15 U.S.C. § 1692a(3).

6. Proi’essional Recovery Services, lnc. (Defendant) is incorporated under the laws
of the State ofNew .lersey, with its principal place of business located at: 221 Laurel Road,
Suite 160, Voorhees, New Jersey 08043. Defendant’s principal purpose is the collection of
debts and Defendant regularly collects or attempts to collect the debts owed or due or asserted
to he owed or due another. Det`endant regularly uses the telephone and mail to engage in the
business of collecting debt in several states including California. Thus, Det`endant is a “debt
collector” as defined by the FDCPA, 15 U.S.C. § 1692a(6).

7. "l`he true names and capacities, whether individual, corporate, or in any other
form, of Det`endants DOES 1 through 10, inclusive, and each ot` them, are unknown to Plaintit`f,

who therefore sues them by such fictitious narnes. Plaintiff will seek leave to amend this

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CGMPLAINT FOR DAMAGES

 

 

 

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Case 2:13-cv-00187-RGK-.]CG Document 1 Filed 01/10/13 Page 3 of 11 Page |D #:S

Cornplaint to show the true names and capacities of DOES 1 through 10 should they be
discovered
FACTUAL ALLEGATIONS

8. Within one year prior to the filing of this action, Defendant contacted Plaintift` in
the attempted to collect a debt originally held by Applied Banl< (alleged debt) and identified as
account number ending in 0427. 'l`he alleged debt is an obligation or alleged obligation of a
consumer to pay money arising out of a transaction in which the money, property, insurance, or
services which are the subject of the transaction are primarily for personal, family, or household
purposes, whether or not such obligation has been reduced to judgment Thus, the alleged debt is
a “debr’ as defined by 15 U.s.c. § 1692a(5).

9. Within one year prior to the filing of this action, Defendant contacted Plaintit`f by
mail and by telephone for the purpose of collecting the alleged debt.

10. Within one year prior to the Hling of this action, Defendant repeatedly and
continuously called Plaintiff from telephone number (866) 302-1102 for the purpose of
collecting the alleged debt. Defendant caused Plaintiff’s telephoneto ring repeatedly and with
such frequency as to be unreasonable and to constitute harassment to Plaintiff under the
circumstances

ll. Upon information and belief, over the course of thirty-seven (37) days, from
Novernber 8, 2012 through Decernber 14, 20l2, Defendant called Plaintift` at least twenty~tlve
(25) times from telephone number (866) 302~1102 for the purpose of collecting the alleged debt.

12. Upon information and belief, when Det`endant calls Plaintiff, Defendant’s number

shows up on Plaintifi" s caller identification as “000~000~0000.”

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COMPLAINT FOR DAMAGES

 

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13. The natural and probable consequences of Defendant’s conduct is to harass,
oppress, or abuse Plaintiff.

14. The natural and probable consequences of Defendant’s conduct amount to a false
representation or deceptive means to collect a debt or obtain information about a consumer

15. Within one year prior to the filing of this action, Defendant called Plaintiff
multiple times using an artificial prerecorded voice or using equipment which has the capacity to
store or produce telephone numbers to be called, using random or sequential number generator
and to dial such numbers, also known as an “autornatic telephone dialing system” as defined by
TCPA 47 U.S.C. § 227(a)(1)(A) and (B).

16. Upon information and belief, Defendant did not receive Plaintifi" s express
consent before using an artificial prerecorded voice or an automatic telephone dialing system to
contact Plaintit`f.

l7. Upon information and belief, Defendant did not have an emergency purpose for
contacting Plaintift` using an artificial prerecorded voice or an automatic telephone dialing
system.

18. Defendant willfully or knowingly violated the 'l`CPA.

19. As a result of the acts alleged above, Plaintiff suffered emotional distress

20. Defendant’s illegal and abusive collection communications as described above
were the direct and proximate cause oi` severe emotional distress on the part of Plaintiff.

FIRST CLAIl\/I FOR RELIEF
{Violation of the Fair I)ebt Collection Practices Act, 15 U.S.C. § 1692)
21. Plaintiff incorporates herein by reference paragraphs l through 20, inclusive, as

though set forth in full herein

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COMPLAINT FOR DAMAGES

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22. Defendant violated the FDCPA. Defendant’s violations include, but are not
limited to, the following:

(a) Defendant violated § ] 69201 of the FDCPA by engaging in conduct, the natural
consequence of which is to harass, oppress or abuse any person in connection with the collection
of the alleged debt; and

(b) l)efendant violated §169201(5) of the FDCPA by causing Plaintift’ s phone to ring
or engaging Plaintiff in telephone conversations repeatedly; and

(c) Defendant violated §1692e of the FDCPA by using false, deceptive, or
misleading representation or means in connection with the collection of the alleged debt; and

(d) Defendant violated §16922(10) of the FDCPA by using false representation or
deceptive means to collect a debt or obtain information about a consumer; and

(e) Defendant violated §] 692fof the FDCPA by using unfair or unconscionable
means in connection With the collection of an alleged debt.

23. Defendant’s acts as described above were done intentionally with the purpose of
coercing Plaintiff to pay the alleged debt.

24. As a result of the foregoing violations of the FDCPA, Det`endant is liable to
Plaintiff for declaratory judgment that Defendant’s conduct violated the FDCPA, actual
damages, statutory damages, and costs and attorney fees.

SECOND CLAIM FOR RELIEF
(Violation of the Telephone Consumer Protection Act, 47 U.S.C. § 227)
25. Plaintiff incorporates herein by reference paragraphs 1 through 24, inclusive, as

though set forth in full herein

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COMPLAINT FOR DAMAGES

 

 

 

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26. Det`endant violated the TCPA. Det`endant’s violations include, but are not limited
to, the following:

(a) Defendant violated § 22 7(b)(l)(B) by calling Plaintiff using an automatic
telephone dialing system or an artificial prerecorded voice to Plaintiff’ s residential telephone
line, without her express consent

27. As a result of the foregoing violations of the TCPA, Defendant is liable to
Plaintift` for declaratory judgment that Defendant violated the TCPA, actual damages pursuant to
47 U.S.C. § 227, statutory damages in an amount up to live hundred dollars ($500.00) for each
violation of the TCPA pursuant to 47 U.S.C. § 227, and treble damages pursuant to 47 U.S.C. §
227.

PRAYER FOR RELIEF

WHEREFORE, Plaintit`t` respectfully requests that judgment be entered against
Det`endant for the following:

(a) Declaratory judgment that Defendant has violated the FDCPA and the TCPA; and

(b) Injunctive relief prohibiting Det`endant from initiating further telephone calls to
Plaintiff in violation of the regulations prescribed under the TCPA; and

(c) Actual damages; and

(d) Statutory damages pursuant to 15 U.S.C. § 16921<; and

(e) Trebled statutory damages pursuant to 47 U.S.C. § 227(c)(5); and

(t) Costs and reasonable attorney fees pursuant to 15 U.S.C. § 1692k;

(g) Awarding Plaintiff any pre-judgment and post-judgment interest as rnay be
allowed under the law;

(h) For such other and further relief as the Court may deem just and proper.

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COMPLAI"NT FOR DAMAGES

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Dated: January 8, 2013

 

 

Case 2:13-Cv-00187-RGK-.]CG Document 1 Filed 01/10/13 Page 7 of 11 Page |D #:1

DEMANI) FOR lIURY TRIAL

Please take notice that plaintiff, Myrna E. Baum, demands a trial by jury in this action.

RESPECTFULLY SUBMITTED,

PRICE LAW GROUP, APC

 

 

G. Thomas Martin, lIl
Attorney for Plaintil`i`

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COMPLAINT FOR DAMAGES

 

CaSe 2:13-Cv-00187-RGK-.]CG Document 1 Filed 01/10/13 Page 8 of 11 Page |D #:14

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITEI) S'I`ATES MAGISTRATE JUDGE F()R DISCOVERY

This case has been assigned to District Judge R. Gary Klausner and the assigned
discovery l\/lagistrate lodge is J ay C. Gandhi.

'l`he case number on all documents filed with the Court should read as follows:

CV13- 187 RGK {JCG:X;)

Pursuant to General Order 05»07 ot` the United States District Court for the Central
District of Califomia, the l\/lagistrate Judge has been designated to hear discovery related
motions

All discovery related motions should be noticed on the calendar of the l\/lagistrate Judge

NOT|CE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removalr action is
fifeo', a copy of this notice must be served on atf plaintiffs).

Subsequent documents must be filed at the following location:

Western Dlvision Southern Division Eastern Division

312 N. Spring St., an. G»S 411 West l:ourth St., Rm. 1-053 3470 Twelfth St., Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Faifure to tile at the proper location will result in your documents being returned to you.

 

CV»‘lS (031'06) NOT|CE OF ASS!GNMENT TO UNi'l'ED STATES MAG|S`§“RATE Jl.}DGE FOR DESCOVERY

CaSe 2:13-Cv-00187-RGK-.]CG Document 1 Filed 01/10/13 Page 9 of 11 Page |D #:15

AO 440 (Rev. ]2/09} Summons in a Civil Action

 

UNrrED SrArEs Dls"nuc'r CoURT

for the

Central District of California

MYRNA E. BAUM, an individual 3 § § §
w

 

 

" s i t tit will

Civil Action No.

Plaimr]‘j"

V.

PROFESS!ONAL RECOVERY SERV!CES, ll\EC., a
corporation; and DOES ‘l to 10, inclusive

 

Dajiendant

SUMMGNS IN A CIVIL ACTION

TO: (Defendan! ’s name and address)
PROFESSEONAL RECOVERY SERV|CES, lNC., a corporation
221 Laurei Road, Suite 160
Voorhees, New dorsey 08043

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) -- or 60 days if you
are the United States or a limited States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) m~» you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: G. Thomas Martia, u!, Esq. (SBN 218456)

PRICE l_AW GF{OUP, APC

15760 Vel'ltura Blvd., St,!ite 1100
Encino, CA 91436

T: {818) 907-2030; F: (866) 397»~2030
tom@ptglawtlrm.com

lf you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint
You also must file your answer or motion with the court.

 
 
   
     
 
 

CLERK OF COURT

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Date:

 
 

 
  
    

Signature ofCler§ip?;;

 

 

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_Case 2:13-Cv-00187-RG_K-.]CG Document 1 Filed 01/10/13 Page 10 of 11 Page |D #:16

UNITED STATES DISTRICT CQI` YDMRICT OF CALIFORNIA
oxylb;€® 11 T ,. -

‘DEFENDANTS

 

I{a) PLAIN'I`IFFS (Checi< box if`yon are representing yourself §)

MYRNA E. BAUM, an individuai PROFESSIONAL R_ECOVERY SERVICES, lNC., a corporation; and DOES l

to 10, inclusive

 

(h} Attorneys (Firm Name, Adciress and T`elephone Number. lfyoti are representing
yourself, provide same.)
G. 'I`homas Martin, ill (SBN 218456)
PRICE LAW GROUP, APC
15750 Venw.ra Bivd., Suiie 1100, Encino, CA 91436

A€torneys (If Known)

 

 

Il. BASIS OF JIH{ISD!C'I`I()N (Place an X in one box only.) III. CI'I`IZENSHH’ QF PRINCIPAL PARTIES ' For Diversity Cases Oniy
(Place an X in one box for plaintif¥ and one for defendana)
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of Parties in Ite:n 11§) of Business in Another State
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Litigation Magistrate Judge

 

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CLASS AC'!'ION under F.RC.P. 23: § Yes dNo

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VI. CAUSE OF AC'I`ION (Cite the U.S. Civil Statute under which yon are filing and write a brief statement ofcause. Do not cite jurisdictional sfatu€es unless diversi:y_}
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FOR OFFICE USE ONLY: Case Number:

 

AFYER COMPLET[NG THE FRONT SIDE OF FORM CV~‘T"Z, COMPLETE THE INFORMA'I`[ON REQUESTED BELOW.

 

CV-']' 1 {(}5/08)

CIVIL COVER SHEET

Page 1 01`2

CaSe 2:13-Cv-00187-RGK-.]CG Document 1 Filed 01/10/13 Page 11 of 11 Page |D #:17

UNITED STATES I)lSTRICT COURT, CENTRAL BIS'I`RICT OF CALIFORNIA
CIV'IL COVER SHEET

VIII(a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? E(No l`_'l Yes
lfyes, list case number{s}:

 

Vl{ll(b). RELA'I`ED CASES: Have any cases been previousiy fiied in this court that are related to the present case? l§!(No U Yes
lf`yes, list case nomber(s):

 

Civi| cases are deemed related if a previously filed ease and the present case:
(Check ali boxes that appiy) ill A, Arise from the sarno or closely related transactions, happenings, or events; or
iii B. Call for determination of the same or substantially related or similar questions of law and fact; or
E] C_ §or other reasons Would entail substantial duplication of labor if heard by differentjudges; or
Cl D. lnvolve the same patenr, trademark or copyright and one of the factors identified above in a, b or c also is present

 

IX. VENUE: CWhen completing the following inforrnation, use an additional sheet if necessazy.)

(a) List the County in this District; California County outside of this District', State ifother than Caiil"omia; or Forcign Country, in which EACH named plaintiff resides
|Il Cheek here if the government its agencies or employees is a named plaintiff lf this box is ehecked, go to item (b). -

 

County in this Distr'ict:* California Ccunty outside of this District; Sta€e, if other than California; or Foreign Country

 

Ventura

 

(b) List the County in this Distn'ct; Calif`ornia County outside of this Distn'ct; Stete if other than Caiifornia; or Foreign Country, in which EACI{ named defendant resides
|`_’l Ciieck here if the government its agencies or employees is a named defendant If this box is checked, go to item (c).

 

County in this District'.* Califomia County outside of this District; State, if other than California,' or Forei gri Conntry

 

New Jersey

 

 

 

 

(e) l_.ist the County in this District; Calif`ornia County outside of this District; State if other than Cali£ornia; or Foreign Country, in which EACH claim arose.
Note: In land condemnation cascs, use the location of the tract of land involved.

 

County in this Distzict:* California County outside of this District; State, if other than Califorrria‘, or Foreign Country

 

Ventura

 

 

 

 

"‘ bos Angeles, Orange, San Bernardino, Riverside, Ventura, Santa Barbare, or San Luis Obispo Counties
Note: la land condemnation cases use the location of the tract of land involved ,

x. sIGNAruRB or ArroRNsY(oR Pao rear §izmaa»»s FQME sara i‘/?z/M {3

Noticc to Counsel/Pa diem The CV-'i‘l {JS~M) Civil Cover Slzeet and the information contained herein neither replace nor suppicment the filing and service of` pleadings
or other papers as required by law. This forrn, approved by the Judicial Con£`erence of the United States in September l974, is required pursuant to Local Rule 3-i is not filed
but is used by the C]erlc oft§ie Court for the purpose ofstatistics, venue and initiating the civil docket sheet (l~`or more detailed instructions see separate instructions sheet,)

 

 

Key to Statistical codes relating to Social Security Cases:

Nalnre of Sult Code Ahbreviation Substantive Statement of Cause of Action

861 HIA A]l claims for health insurance benefits (Medicare) under 'l`itle 18, Pa.rt A, of the Socia§ Security Act, as amended
Also, include claims by bospitals, skilled nursing facilities, etc., for certification as providers o£" services under the
program (42 U.S,C. l935FF(b))

862 Bi, All claims for “Biack Lung” benefits under Title 4, Part B, of the Fedcral Coal Mine Health and Safety Act of 1969.
(30 U`S.C. 923)

863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended; plus ali claims filed for child’s insurance benefits based on disability {42 UiS.C. 405(§})

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under 'l`itle 2 of the Sociai Sccurity
Act, as amended (42 U,S.C, 405(g))

364 SS§D All claims for supplemental security income payments based upon disability filed under "l"itic 16 o€the Soc§al Security
Act, as amended

865 RSI All claims for retirement (old age) and survivors benefits under "l`it§e 2 of the Social Secority Act, as amended (42
U.S-C- (s))

 

n CV»T§ {05/98) CEVIL COV§§R SHEET l’agc 2 of 2

